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                        UNITED STATES DISTRICT COURT
               EASTERN DISTRICT OF MICHIGAN – SOUTHERN DIVISION

  MONIQUE GRIMES, as Personal
  Representative of the Estate of DAMON
  GRIMES, Deceased,                                    Case No. 2:17-cv-12860
                                                       Consolidated with 2:17-cv-13580
                                       Plaintiff,
                                                       Honorable Gershwin A. Drain
                                                       Magistrate Judge Elizabeth A. Stafford
  v
  MARK BESSNER and ETHAN
  BERGER,

                                    Defendants.


                                   AMICUS CURIAE
                         MICHIGAN STATE POLICE TROOPERS
                                ASSOCIATION (MSPTA)
                              STATEMENT OF POSITION
                             ON MOTION TO WITHDRAW
                        BY DEFENDANT BERGER’S ATTORNEYS



        This case involves a lawsuit alleging various counts of civil liability against the

 Defendants Mark Bessner and Ethan Berger arising out of the death of Damon Grimes on

 August 26, 2017. It is undisputed that both Defendants were employed as Troopers by the

 Michigan State Police and were on duty in a Michigan State Police patrol car at the time of the

 events giving rise to this lawsuit. On August 26, 2017, both Troopers were members of the

 Michigan State Police Troopers Association (the “MSPTA”), their labor association.

        This lawsuit was filed on or about September 20, 2017, at a time when both Defendants

 remained employees in good standing with the Michigan State Police (although each was on

 administrative leave pending criminal investigation of their activities leading up to the death of

 Damon Grimes.)



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 I.     Representation Issue Affecting Mark Bessner

        Trooper Bessner voluntarily resigned his position as a State Police Trooper after this

 lawsuit was filed against him and a copy of the lawsuit provided to the Michigan State Police.

 On or about December 22,2017, serious criminal charges were filed against Bessner arising out

 of the incident of the incident (i.e., 2nd Degree Murder, 2 Counts Manslaughter).

        On February 7, 2017, Bessner and the MSPTA learned through a newspaper article that

 Bessner was not being represented in the pending civil suit by the Office of the Attorney

 General or by a lawyer appointed by the Department of State Police. On the same day, the

 MSPTA filed a grievance under its collective bargaining agreement challenging the

 Department’s refusal to provide Bessner with representation in this civil case. The grievance

 was denied by the Department, and the matter has been referred to binding arbitration.

        Given the very serious criminal charges against Bessner, and the assumption by the

 MSPTA that a stay of these civil proceedings would be sought and granted by Bessner, and

 given further the fact that Bessner would be required to testify on his behalf in any arbitration

 proceeding but would certainly invoke his Fifth Amendment right against self-incrimination

 during the pendency of the criminal case, the MSPTA advised Bessner that it intended to refrain

 from scheduling an arbitration hearing on the representation issue until after the resolution of

 the criminal case. Moreover, since the outcome of the criminal case would almost certainly

 affect the outcome of the grievance arbitration, the MSPTA concluded that it would not be

 appropriate to arbitrate the case until after the criminal case was resolved. As of this date, the

 grievance remains in queu for arbitration, but an arbitration date is not being requested from the

 assigned arbitrator until resolution of the criminal case. Certainly, a conviction of second

 degree murder could affect the MSPTA’s decision to proceed to arbitration. Conversely, an

 acquittal would greatly strengthen the case and could lead to productive settlement negotiations



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 on the merits of the grievance which could obviate the need for arbitration.

        The MSPTA learned on June 1, 2018 that a stay has not been granted in the civil

 proceedings involving Bessner because neither Bessner nor his attorney in the criminal case

 have sought a stay. The MSPTA does not represent Bessner in the criminal case, nor does it

 represent him in this civil case. Under the circumstances presented to the Court, the MSPTA

 unfortunately has no standing, and can only express its hope that the Court will sua sponte stay

 the civil proceedings against Bessner since it is not reasonable to expect that he would give up

 his Fifth Amendment privilege during discovery in this civil case, or during an arbitration of his

 representation case, while his criminal case remains pending.

 II.    Representation Issue Affecting Ethan Berger

        Trooper Ethan Berger was not charged with criminal conduct arising out of the death of

 Damon Grimes. The Office of the Attorney General entered an appearance on behalf of Berger

 shortly after this lawsuit was filed and has defended Berger since that time.

        The Michigan State Police has recently conducted an internal affairs investigation of

 Berger’s conduct in the case, however, and has now proposed his termination from employment

 as of March 20, 2018. The MSPTA has grieved that disciplinary action, and the matter is

 currently scheduled for binding arbitration on June 18, 2018. An arbitrator could potentially do

 one of three things: (1) uphold the termination of employment; (2) find that misconduct was

 committed which warrants a disciplinary action less than termination; or (3) find that no

 misconduct was committed and set aside the proposed discipline in its entirety.

        Thereafter, on April 30, 2018, the MSPTA was notified that it was directing the

 Attorney General to withdraw from representing Tpr. Ethan Berger. Upon learning of the

 determination to withdraw legal representation from Trooper Berger, the MSPTA filed a

 grievance challenging that action later on the same day, on April 30, 2018.



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         On or about May 2, 2018, the Office of the Attorney General filed a motion to withdraw

 as Berger’s attorney in this case, presumably as directed by the Michigan State Police. The

 motion is scheduled for argument on June 5, 2018.

         In an effort to obtain a prompt resolution of the representation issue involving Trooper

 Berger, the MSPTA and the Michigan State Police have agreed to combine the grievance

 arbitration hearing involving the termination of Trooper Berger and the grievance arbitration

 hearing challenging the withdrawal of representation of Trooper Berger into a single arbitration

 hearing. As mentioned above, the combined arbitration hearing is scheduled to occur on June

 18, 2018.

         Assuming that all proofs are submitted in a single day (which is expected), it is typical

 for the arbitrator to establish a briefing schedule of approximately 30 days to 45 days,

 depending upon the schedules of the advocates and arbitrator. Once briefs have been submitted,

 the arbitrator is required to render a written opinion within 30 days. Because the arbitrator is

 being asked to rule on two separate and distinct issues, the arbitrator could conceivably request

 an extension of time up of another 30 days.

         In any event, it is likely that a final arbitration award would be issued by October 1, and

 perhaps as early as mid-August in a best case scenario. Arbitration awards are not appealable

 and are final and binding.

         Respectfully, the MSPTA urges this Court to hold the Attorney General’s motion to

 withdraw as attorney for Ethan Berger in abeyance until a final arbitration award is rendered in

 the Berger case. The MSPTA will account to this Court as directed about the status of the

 arbitration and the final result.

         The MSPTA is unaware whether pleadings have been finalized or if the Plaintiff intends

 to amend her complaint or add additional parties or theories of recovery. The MSPTA is



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 unaware whether this case will required extensive discovery or be ready for trial in a very short

 time.

         But here is the dilemma for the Court’s consideration. If the Court allows the Attorney

 General to withdraw now, and Ethan Berger (who is fighting to retain his employment, let alone

 legal representation in this case) goes without representation for the next three months (and does

 nothing constructive to assist in his defense because he is not represented), he could obviously

 harm his case by neglecting to comply with an order of the court or a court rule. If an arbitrator

 rules that the Attorney General must resume its representation three months from now, how

 does the Attorney General undue the mistakes that would never have occurred if Berger had

 enjoyed continuous representation by the Attorney General?

         Similarly, if an arbitrator rules that Berger is not entitled to continued representation

 sometime in August or September, how is the State of Michigan harmed merely because it

 continued to represent him until that time?

 III.    Summary of MSPTA Position

         The MSPTA respectfully suggests that the Court should choose the “path of least

 regrets.” The Court should take the motion of the Attorney General to withdraw from this case

 under advisement pending receipt of an arbitration award in the next few months which

 conclusively establishes the responsibility of the Attorney General in this case going forward to

 either represent or cease to represent Ethan Berger. That arbitration award will guide the Court

 conclusively.

         The undersigned lawyer intends to appear at the June 5, 2018 hearing on behalf of the

 Michigan State Police Troopers Association to respond to any questions that the Court may

 have or provide any requested documentation.




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                                                      Respectfully submitted,

                                                      MICHIGAN STATE POLICE TROOPERS
                                                      ASSOCIATION
  DATED:          June 3, 2018                        By Its Attorney,

                                                        S/Lawrence P. Schneider
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                                                      Phone: 517-336-7782 / Fax: 517-336-8997
                                                      larrys@mspta.net

                                                      Cell phone: (517) 881-6421

                                  CERTIFICATE OF SERVICE

         I hereby certify that on the date indicated below, I electronically filed this paper with the
 Clerk of the Court using the ECF system, which will send notification of such filing to each of
 the attorneys of record in this case.

 Dated: June 3, 2018                             s/ Lawrence P. Schneider     (P27325)




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